Case 3:14-cv-01037-CAB-BGS Document 39 Filed 09/10/15 PageID.1295 Page 1 of 5




    1 GLANCY PRONGAY & MURRAY LLP
        LIONEL Z. GLANCY (SBN 134180)
    2 ROBERT V. PRONGAY (SBN 270796)

    3 CASEY E. SADLER (SBN 274241)
        1925 Century Park East, Suite 2100
    4 Los Angeles, California 90067

    5 Telephone: (310) 201-9150
      Facsimile: (310) 201-9160
    6 E-mail:    lglancy@glancylaw.com
    7            rprongay@glancylaw.com
                 csadler@glancylaw.com
    8

    9 Attorneys for Lead Plaintiff AMISH PATEL

   10                           UNITED STATES DISTRICT COURT
   11                         SOUTHERN DISTRICT OF CALIFORNIA
   12    AMISH PATEL, Individually and on    Case No. 3:14-cv-01037-CAB-BGS
         Behalf of All Others Similarly
   13    Situated,
                                             NOTICE OF MOTION AND
   14                   Plaintiff,           MOTION FOR FINAL APPROVAL
   15              v.                        OF THE PROPOSED
                                             SETTLEMENT, CLASS
   16
         AXESSTEL, INC., H. CLARK            CERTIFICATION AND THE PLAN
   17    HICKOCK and PATRICK GRAY,           OF ALLOCATION
   18
                        Defendants.          Date: October 15, 2015
   19                                        Time: 2:00 p.m.
                                             Crtm: 4C
   20
                                             Judge: Hon. Cathy Ann Bencivengo
   21

   22

   23

   24

   25

   26

   27
   28   315379.3
        NOTICE OF MOTION AND MOTION
        Case No. 3:14-cv-01037-CAB-BGS
Case 3:14-cv-01037-CAB-BGS Document 39 Filed 09/10/15 PageID.1296 Page 2 of 5




    1              TO THE CLERK OF THE COURT AND ALL PARTIES AND THEIR

    2 ATTORNEYS OF RECORD HEREIN:

    3
                   PLEASE TAKE NOTICE that on October 15, 2015, at 2:00 p.m., in
    4

    5 Courtroom 4C of the above-referenced court, located at 221 West Broadway, San

    6 Diego, California 92101, before the Honorable Cathy A. Bencivengo, United

    7
        States District Court Judge, Lead Plaintiff Amish Patel and Plaintiff Jesse Cowen
    8

    9 will and hereby do move this Court for an order (1) finally approving the

   10 settlement of this Litigation; (2) certifying the Settlement Class; and (3) approving

   11
        the Plan of Allocation for the distribution of the Settlement Fund.
   12

   13              This Motion is based upon the Notice of Motion and Motion; the
   14 Memorandum in Support; the Declaration of Robert V. Prongay; and all pleadings

   15
        and papers filed herein.
   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27
   28   315379.3
        NOTICE OF MOTION AND MOTION
        Case No. 3:14-cv-01037-CAB-BGS
                                                  1
Case 3:14-cv-01037-CAB-BGS Document 39 Filed 09/10/15 PageID.1297 Page 3 of 5




    1 Dated: September 10, 2015          GLANCY PRONGAY & MURRAY LLP

    2

    3                                    By: s/ Robert V. Prongay
                                         Lionel Z. Glancy
    4
                                         Robert V. Prongay
    5                                    Casey E. Sadler
                                         1925 Century Park East, Suite 2100
    6
                                         Los Angeles, California 90067
    7                                    Telephone: (310) 201-9150
                                         Facsimile: (310) 201-9160
    8
                                         Email: info@glancylaw.com
    9
                                         Lead Counsel for Lead Plaintiff
   10
                                         and the Class
   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27
   28   315379.3
        NOTICE OF MOTION AND MOTION
        Case No. 3:14-cv-01037-CAB-BGS
                                              2
Case 3:14-cv-01037-CAB-BGS Document 39 Filed 09/10/15 PageID.1298 Page 4 of 5




 1      PROOF OF SERVICE VIA ELECTRONIC POSTING PURSUANT TO
           SOUTHERN DISTRICT OF CALIFORNIA LOCAL RULES
 2
 3           I, the undersigned, say:
 4
           I am a citizen of the United States and am employed in the office of a
 5   member of the Bar of this Court. I am over the age of 18 and not a party to the
 6
     within action. My business address is 1925 Century Park East, Suite 2100, Los
     Angeles, California 90067.
 7
 8           On September 10, 2015, I caused to be served the following documents:
 9
             NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL
10           OF THE PROPOSED SETTLEMENT, CLASS CERTIFICATION
             AND THE PLAN OF ALLOCATION
11
12           MEMORANDUM IN SUPPORT OF MOTION FOR FINAL
13           APPROVAL OF THE PROPOSED SETTLEMENT, CLASS
             CERTIFICATION AND THE PLAN OF ALLOCATION
14
15          By posting the documents to the ECF Website of the United States District
     Court for the Southern District of California, for receipt electronically by the
16
     parties as listed on the attached Service List.
17
18         I certify under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct. Executed on September 10, 2015,
19   at Los Angeles, California.
20
21
                                                 s/ Robert V. Prongay
22                                               Robert V. Prongay
23
24
25
26
27
28



     315424.1 AXESSTEL
CM/ECF - casd-                                                    https://ecf.casd.uscourts.gov/cgi-bin/MailList.pl?215580853132688-L_1_0-1
              Case 3:14-cv-01037-CAB-BGS Document 39 Filed 09/10/15 PageID.1299 Page 5 of 5




         Electronic Mail Notice List

         The following are those who are currently on the list to receive e-mail notices for this case.

               Lionel Z Glancy
               info@glancylaw.com,lboyarsky@glancylaw.com

               Robert Vincent Prongay
               rprongay@glancylaw.com,info@glancylaw.com,lheine@glancylaw.com,bmurray@glancylaw.com

               Bridget J. Russell
               brussell@sheppardmullin.com,jstigi@sheppardmullin.com,lchu@sheppardmullin.com

               Casey Edwards Sadler
               csadler@glancylaw.com,info@glancylaw.com

               John P Stigi , III
               jstigi@sheppardmullin.com

         Manual Notice List

         The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who
         therefore require manual noticing). You may wish to use your mouse to select and copy this list into your word
         processing program in order to create notices or labels for these recipients.

          (No manual recipients)




1 of 2                                                                                                                  9/10/2015 4:00 PM
